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                                   MAGISTRATE JUDGE'S MINUTES
                        IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF ARIZONA – FLAGSTAFF
U.S. Magistrate Judge: Camille D. Bibles         Date: June 13, 2022
USA v. Matthew C. Riser                          Case Number: 22-04199MJ-001-PCT-CDB

Assistant U.S. Attorney: Wayne Venhuizen for Patrick Joseph Schneider
Attorney for Defendant: Daniel Benjamin Kaiser, CJA
Interpreter: N/A
Defendant: ☒ Present ☐ Not Present ☐ Released ☒ Custody ☐ Summons ☐ Writ

INITIAL APPEARANCE
☒ Citations Filed Date of Arrest: June 11, 2022
☒ NO Financial Affidavit taken; Defendant sworn as to financial status.
Appointing attorney Daniel Benjamin Kaiser, CJA, on behalf the defendant.
☒ Defendant states true name to be MATTHEW CHRISTOPHER RISER.
   Further proceedings ORDERED in Defendant’s true name.
☒ Government's motion for detention and request for a continuance of the Detention Hearing pursuant
   to 18§3142(e) & (f) is ☒ Granted ☐ Denied
☒ Defendant shall be temporarily detained in the custody of the United States Marshal pursuant to
   ☒ 18§ 3142(f) ☐ 18§ 3142(d)

As required by Rule 5(f), the United States is ordered to produce all information required by Brady v.
Maryland and its progeny. Not doing so in a timely manner may result in sanctions including exclusion
of evidence, adverse jury instructions, dismissal of charges, and contempt proceedings.

Detention Hearing and Status Hearing regarding Preliminary Hearing set for Thursday, June 16,
2022 at 10:15 a.m. before Magistrate Judge Camille D. Bibles at 123 N. San Francisco Street, Flagstaff,
Arizona.

Recorded By Courtsmart                                                          IA     10 min
Deputy Clerk Christina Davison
                                                                                Start: 10:36 am
                                                                                Stop: 10:46 am
